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UNITED STATES DISTRICT COURT FILED El`r"ém_“ D'C_
WESTERN DISTRICT OF TENNESSEE
Western Division 05 JUL "l PH l2¢ 35

UNITED STATES OF AMERICA

 

_vS_

BENJAMIN MURRELL

 

ORDER OF DETENT|ON PENDING TRIAL
FlNDiNGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

D|RECT|ONS REGARD|NG DETENT|ON

BENJAMIN MURRELL is committed to the custody of the Attorney General orhis designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. BENJAMIN MURRELL shall be afforded a reasonable opportunity for
private consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

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DIANE K. vEsco\'fo
UNITED sTATEs MAGIsrRATE JUDGE

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UNITED SAS,TE DSTRIC COURT - WETRSE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 8 in
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.luly 5, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

